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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 BEARBOX LLC and AUSTIN STORMS,                      )
                                                     )
                         Plaintiffs,                 )
                                                     )
           v.                                        ) C.A. No.
                                                     )
 LANCIUM LLC, MICHAEL T.                             ) JURY TRIAL DEMANDED
 MCNAMARA, and RAYMOND E. CLINE,                     )
 JR.                                                 )
                                                     )
                         Defendants.
                                                     )


                                           COMPLAINT

         Plaintiffs BearBox LLC (“BearBox”) and Austin Storms (collectively, “Plaintiffs”) bring

this action against Lancium LLC (“Lancium”), Michael T. McNamara, and Raymond E. Cline,

Jr. (collectively “Defendants”) to correct the inventorship of U.S. Patent No. 10,608,433 (the

“’433 Patent”) and to recover damages, injunctive relief, declaratory relief, and other remedies

for Defendants’ wrongful actions to obtain, misuse, disclose, and claim as their own Plaintiffs’

proprietary cryptocurrency mining technology. Plaintiffs further allege as follows:


                                         INTRODUCTION

         1.      This case is about the Defendants’ theft of inventions that rightfully belong to

Plaintiffs.

         2.      Plaintiffs developed an energy-efficient cryptocurrency mining system and related

methods that reduce the inefficiency and environmental impact of energy-expensive mining

operations by better utilizing available energy resources to increase stability of the energy grid,

minimize a mining operation’s impact on peak-demand, and also alleviate electricity




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undersupply and/or oversupply conditions (the “BearBox Technology”). The BearBox

Technology can be used to mine cryptocurrency, such as Bitcoin.

         3.      The Defendants induced the Plaintiffs to disclose the BearBox Technology to

them under the guise of a possible business deal between Defendants and Plaintiffs to jointly

commercialize the BearBox Technology. Before disclosing the BearBox Technology to

Defendants, Plaintiffs obtained assurances of confidentiality from Defendants.

         4.      Rather than keeping the BearBox Technology confidential and using it in

furtherance of a business relationship with Plaintiffs, the Defendants stole the BearBox

Technology from Plaintiffs by converting and misappropriating it and claiming it as their own.

Defendants filed a U.S. patent application that wrongfully disclosed the BearBox Technology to

the U.S. Patent and Trademark Office and ultimately to the public. And by obtaining the ’433

Patent with claims directed to the BearBox Technology, the Defendants have wrongfully

obtained a patent covering the BearBox Technology and wrongfully claimed the BearBox

Technology as their own.

         5.      Plaintiffs bring this action to correct the named inventors on the ’433 Patent. The

inventions claimed in the ’433 Patent are inventions conceived by Storms, founder and president

of BearBox.


                                             PARTIES

         6.      Plaintiff BearBox LLC (“BearBox”) is a limited liability company organized and

existing under the laws of Louisiana with its principal place of business at 4422 Highway 22,

Mandeville, Louisiana 70471.

         7.      Plaintiff Austin Storms is an individual residing in Mandeville, Louisiana.




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         8.      On information and belief, Defendant Lancium is a Delaware limited liability

company with its principal place of business at 6006 Thomas Rd, Houston, Texas 77041. On

information and belief, Lancium has a registered agent capable of accepting service in this

district, Harvard Business Services, Inc. with a place of business at 16192 Coastal Highway,

Lewes, DE 19958.

         9.      On information and belief, Defendant Michael T. McNamara is the Chief

Executive Officer and a founder of Lancium and resides in Newport Beach, California.

Defendant McNamara is named as a purported inventor on the face of the ’433 Patent.

         10.     On information and belief, Defendant Raymond E. Cline, Jr. is the Chief

Computing Officer of Lancium and resides in Houston, Texas. Defendant Cline is named as a

purported inventor on the face of the ’433 Patent.


                                         JURISDICTION

         11.     This is an action seeking correction of the named inventors of a United States

patent under 35 U.S.C. § 256. As such, this action arises under the laws of the United States.

         12.     This Court has exclusive subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338(a) because the matter arises under an Act of Congress relating to patents, specifically 35

U.S.C. § 256.

         13.     This Court further has subject matter jurisdiction under 28 U.S.C. §§ 1331

because the matter arises under the trade secret laws of the United States, 18 U.S.C. § 1836.

         14.     The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over all asserted

claims under state law because those claims are so related to the claims in this action that arise

under federal law that they form part of the same case or controversy.




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         15.     The Court also has jurisdiction pursuant to 28 U.S.C. § 1332, as complete

diversity of citizenship exists among the parties, and the amount in controversy exceeds $75,000.

Plaintiff BearBox is a citizen of the State of Louisiana because it is organized under the laws of

the State of Louisiana and has its principal place of business in the State of Louisiana. Plaintiff

Storms is a citizen of the State of Louisiana because he resides in the State of Louisiana. In

contrast, none of the Defendants are citizens of the State of Louisiana. Defendant Lancium is a

citizen of the States of Delaware and Texas because it is organized under the laws of the State of

Delaware and has its principal place of business in the State of Texas. Defendant McNamara is a

citizen of the State of California because he resides in the State of California. Defendant Cline is

a citizen of the State of Texas because he resides in the State of Texas. Therefore, because the

Plaintiffs are both citizens of the State of Louisiana (and no other states) for purposes of diversity

jurisdiction, and none of the Defendants are citizens of the State of Louisiana, complete diversity

exists among the parties.

         16.     This Court has general personal jurisdiction over Lancium because it is organized

under the laws of the State of Delaware and because it maintains an ongoing presence in this

District at least through its registered agent.

         17.     This Court has specific personal jurisdiction over each of Defendants McNamara

and Cline at least under Title 6 of the Delaware Code, § 18-109(a).

         18.     On information and belief, Defendant McNamara is the Chief Executive Officer

of Lancium. On information and belief, as the Chief Executive Offer, McNamara participates

materially in the management of Lancium, has control and/or decision-making authority over

Lancium, and is a key individual who takes actions on behalf of Lancium.




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         19.     McNamara is a necessary or proper party to this action because he has a legal

interest in the dispute that is separate from the interests of Lancium and because Plaintiffs’

claims against him arise out of the same facts and occurrences as the claims against Lancium.

Accordingly, it serves judicial economy to consider the claims against Lancium and Defendant

McNamara together. Plaintiffs’ claims against Defendant McNamara arise out of his exercise of

his powers as Chief Executive Officer of Lancium.

         20.     On information and belief, Defendant Cline is the Chief Computing Officer of

Lancium. On information and belief, as the Chief Computing Officer, Cline participates

materially in the management of Lancium, has control and/or decision-making authority over

Lancium, and is a key individual who takes actions on behalf of Lancium.

         21.     Cline is a necessary or proper party to this action because he has a legal interest in

the dispute that is separate from Lancium’s interest and because Plaintiffs’ claims against him

arise out of the same facts and occurrences as the claim against Lancium. Accordingly, it serves

judicial economy to consider the claims against Lancium and Defendant Cline together.

Plaintiffs’ claims against Defendant Cline arise out of his exercise of his powers as Chief

Computing Officer of Lancium.

         22.     The actions of Defendants McNamara and Cline establish sufficient minimum

contacts with Delaware under Delaware law and the United States Constitution to give this Court

personal jurisdiction over each of them.

         23.     As described below, each Defendant has committed acts giving rise to this action.




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                                                  VENUE

         24.     Venue is proper in this District under 28 U.S.C. § 1391(b)(3) because there is no

district in which an action may otherwise be brought as provided in § 1391(b) and Defendant

Lancium is subject to the Court’s personal jurisdiction with respect to this action.


                              PLAINTIFFS’ PROPRIETARY
                        CRYPTOCURRENCY MINING TECHNOLOGY

         25.     As of 2018, the amount of energy required to process computer algorithms to

mine cryptocurrencies like Bitcoin was three times greater than the energy required to physically

mine gold. Conventional mining of “copper, gold, platinum, and rare earth oxides are 4, 5, 7, and

9 megajoules to generate one U.S. dollars,” while “it costs an average of 17 megajoules to mine

$1 worth of bitcoin.”1 The large amount of energy required to mine cryptocurrencies can make

such mining financially prohibitive, and even when financially lucrative, the large energy

requirements make cryptocurrency mining harmful to the global environment, with studies

showing carbon dioxide emissions from cryptocurrency mining “single-handedly rais[ing] global

temperatures by 2 degrees by 2023.” Id.

         26.     At the same time, some forms of electrical power generation are terribly

inefficient. When producers of electrical power are unable to quickly adjust their operations in

response to dynamically changing grid conditions, these producers frequently sell power at low

or even negative prices until demand and market prices increase.

         27.     Because cryptocurrency mining is a computationally demanding process, it

requires significant energy. As a result, industrial-scale cryptocurrency mining places a large




1
  https://www.marketwatch.com/story/mining-bitcoin-is-3-times-more-expensive-than-mining-gold-research-paper-
finds-2018-11-06


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energy burden on the power grid, driving demand and costs as well as increasing the likelihood

of grid component failure.

         28.     In late 2018 and early 2019, Austin Storms sought to address these problems by

developing energy-efficient cryptocurrency mining systems and methods that reduce the

environmental impact of energy-intensive mining operations. Storms conceived of a system that

better uses available energy resources to increase the stability of the energy grid, minimize a

mining operation’s impact on peak-demand, and alleviate electricity undersupply and/or

oversupply conditions, all while decreasing the overall energy costs of the mining operation and

increasing its profitability.

         29.     Austin Storms conceived of and developed the BearBox Technology. Storms is

the president and founder of BearBox. The BearBox Technology includes hardware and software

components. Structurally, the BearBox Technology includes a housing for a plurality of miners

(such as ASICs, graphics cards, or the like) under the direction of a smart controller(s).

         30.     The smart controller monitors various external factors, such as current and

expected energy demand and pricing information, current and expected cryptocurrency pricing,

and the like. Based on these external factors, the system may determine whether conditions are

appropriate to mine cryptocurrency and, if so, subsequently mines the cryptocurrency.

Optionally, the system also includes other components for cooling, air-filtration, and related

features.

         31.     In the BearBox Technology, a controller (such as a power distribution unit,

network interface, or the like) monitors various external factors, such as current and expected

energy demand/pricing information, current and expected cryptocurrency pricing, and the like.

Based on these external factors, the controller(s) determines appropriate times to mine




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cryptocurrency in accordance with a desired performance strategy (for example, profitability

thresholds). At the appropriate times, the controller initiates mining, for example, by powering

on the miners.


                        DEFENDANTS WRONGFULLY CLAIM THE
                        BEARBOX TECHNOLOGY AS THEIR OWN

         32.     In May 2019, Storms attended the Fidelity FCAT Mining Summit in Boston,

Massachusetts on behalf of BearBox to promote the BearBox Technology and seek potential

customers for his revolutionary system.

         33.     While at the conference, Storms met Defendant McNamara. Defendant

McNamara showed immediate interest in the BearBox Technology. Under the rouse of a

potential business relationship, McNamara pumped Storms for details about the BearBox

Technology over the course of several exchanges, which included conversations, emails, and text

messages about the BearBox Technology. Storms took McNamara to dinner where McNamara

continued to pump Storms for details about the BearBox Technology. At all times before and

during Storms’s disclosure of this information, Storms told McNamara that the BearBox

Technology was confidential, and Storms relied on McNamara’s good faith assurances that he

would keep confidential the information he received from Storms about the BearBox

Technology.

         34.     Following the conference, McNamara continued to press Storms for additional

details about the BearBox Technology via text messaging and email. Again relying on Defendant

McNamara’s assurances of confidentiality, Storms provided annotated system diagrams,

component specifications, and modeled data sets to mimic real-world Bitcoin and energy prices.

Storms included express confidentiality notices in his communications with Defendant

McNamara.


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         35.     After Storms disclosed the BearBox Technology to McNamara, McNamara

abruptly ended all communications with Storms.

         36.     Storms last communicated with McNamara on May 9, 2019 via e-mail, and after

sending that message, Storms did not hear from McNamara again.

         37.     At that time, Storms understood that McNamara was not interested in investing in

the BearBox Technology. He had no reason to suspect that McNamara would steal the BearBox

Technology and claim it as his own.

         38.     On information and belief, Defendants filed U.S. provisional patent application

No. 62/927,119 on October 28, 2019, naming Defendants McNamara and Cline as the purported

sole joint inventors of the inventions disclosed in the application.

         39.     In addition to falsely claiming to be the inventors of the inventions disclosed in

the application, Defendants wrongfully disclosed, without authorization, the confidential

BearBox Technology to the United States Patent and Trademark Office.

         40.     Likewise, on December 4, 2019, Defendants filed U.S. Patent Application Serial

No. 16/702,931, once again naming Defendants McNamara and Cline as the purported sole joint

inventors of the inventions disclosed in the application.

         41.     The ’433 Patent issued on March 31, 2020 naming Defendants McNamara and

Cline as the sole purported inventors on the face of the patent. A true and correct copy of the

’433 Patent is attached hereto as Exhibit A.

         42.     The inventions claimed in the ’433 patent encompass the BearBox Technology,

yet Defendants falsely identified themselves as the inventors of the claimed inventions, when, in

fact, Storms is the sole inventor of the claimed inventions.




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         43.     On information and belief, McNamara and Cline assigned their purported rights in

the ’433 patent to Lancium. On information and belief, at all times, Lancium was aware that

McNamara and Cline, both officers of Lancium, were not the rightful inventors of the BearBox

Technology disclosed in the patent and the inventions claimed in the patent.

         44.     Defendants McNamara and Cline each submitted signed declarations falsely

swearing that they were “an original joint inventor” of the claimed subject matter. A true and

correct copy of Defendant McNamara’s and Defendant Cline’s declarations are attached as

Exhibit B.

         45.     On August 14, 2020, Lancium filed a lawsuit in the U.S. District Court for the

Western District of Texas against Layer1 Technologies, Inc. (“Layer1”) asserting that Layer1

infringes the ’433 patent. That case is captioned Lancium LLC v. Layer1 Technologies, Inc.,

Case No. 6:20-cv-739 (W.D. Texas) (the “Layer1 Lawsuit”).

         46.     As part of the Layer1 Lawsuit, Defendants falsely asserted that McNamara and

Cline are the sole inventors of the inventions claimed in the ’433 patent.

         47.     Plaintiffs became aware of Defendants’ wrongful use of the BearBox Technology

on or about August 17, 2020, when they learned about the Layer1 Lawsuit through a press

release dated August 14, 2020, posted by Lancium on PRNewswire. That press release is

available at the following URL: https://www.prnewswire.com/news-releases/controllable-load-

resource-clr-market-leader-lancium-files-patent-infringement-lawsuit-against-layer1-

301112687.html.

         48.     Before seeing the August 14, 2020 press release, Plaintiffs were unaware of

Defendants’ wrongful use of the BearBox Technology and was unaware of the ’433 patent.




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         49.     On March 5, 2021, Lancium and Layer1 entered a Stipulation to Dismiss with

Prejudice in the Layer1 Lawsuit. According to the stipulation, the parties had entered a

Settlement Agreement to resolve the Layer1 Lawsuit.

         50.     According to a press release issued by Lancium on March 8, 2021, Lancium and

Layer 1 “have entered into a mutually beneficial partnership. Layer1 has licensed Lancium’s

intellectual property and Lancium will provide Smart Response™ software and services to

Layer1.” The press release is available at the following URL: https://www.prnewswire.com/

news-releases/lancium-and-layer1-settle-patent-infringement-suit-301242602.html

         51.     On information and belief, as part of the Settlement Agreement between Lancium

and Layer1 to settle the Layer1 Lawsuit, Lancium received and continues to receive valuable

consideration from Layer1, all of which rightly belongs to Plaintiffs, the rightful owners of the

inventions claimed in the ’433 Patent.


                                    COUNT I
                 CORRECTION OF INVENTORSHIP FOR THE ’433 PATENT:
                        AUSTIN STORMS AS SOLE INVENTOR

         52.     Plaintiffs incorporate the above paragraphs by reference.

         53.     Storms is the sole inventor of the subject matter claimed in the ’433 Patent.

         54.     Through omission, inadvertence, and/or error, Storms was not listed as an

inventor on the ’433 patent and the currently listed inventors on the ’433 patent were improperly

listed. The omission, inadvertence, and/or error occurred without any deceptive intent on the part

of Storms or BearBox.

         55.     Unless Defendants Lancium, McNamara, and Cline are enjoined from asserting

that McNamara and Cline are the sole inventors of the ’433 Patent in violation of U.S. federal

patent laws, Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.



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                               COUNT II
     IN THE ALTERNATIVE, CORRECTION OF INVENTORSHIP FOR THE ’433
     PATENT: AUSTIN STORMS AS JOINT INVENTOR WITH THE CURRENTLY
                          NAMED INVENTORS

          56.    Plaintiffs incorporates the above paragraphs by reference.

          57.    In the alternative, Storms is a joint inventor of the subject matter claimed in the

’433 Patent and should be added to the individuals currently named as inventors on the ’433

Patent.

          58.    Through omission, inadvertence, and/or error, Storms was not listed as an

inventor on the ’433 patent and the currently listed inventors on the ’433 patent were improperly

listed. The omission, inadvertence, and/or error occurred without any deceptive intent on the part

of Storms.

          59.    Unless Defendants Lancium, McNamara, and Cline are enjoined from asserting

that McNamara and Cline are the sole inventors of the ’433 Patent in violation of U.S. federal

patent laws, Plaintiffs will suffer irreparable injury. Plaintiffs have no adequate remedy at law.


                                  COUNT III
                 CONVERSION BY LANCIUM, MCNAMARA, AND CLINE

          60.    Plaintiffs incorporates the above paragraphs by reference.

          61.    Austin Storms, in his capacity as founder and President of BearBox, conceived,

developed, and reduced to practice the BearBox Technology. Plaintiffs own the BearBox

Technology, related know-how, and related intellectual property. Plaintiffs owned this property

during all relevant time periods in this suit. Information on the BearBox Technology was

provided to Defendants solely for the purposes of evaluation for a potential business relationship

and under strict confidentiality obligations.




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         62.     Defendants assumed dominion and control over the BearBox Technology by

claiming it as their own in the ’433 patent. Through their wrongful conduct in obtaining the ’433

Patent and claiming the BearBox Technology as their own, the Defendants have wrongfully

obtained the purported ability to exclude Plaintiffs and others from using the BearBox

Technology. This constitutes unauthorized and unlawful conversion by Defendants.

         63.     As a result of Defendants’ wrongful actions, Plaintiffs will suffer imminent and

irreparable damages in an amount to be proven at trial. In particular, Plaintiffs have been

damaged by losing valuable intellectual property from which Plaintiffs would have derived

substantial revenue via licensing and/or selling patented products.


                                 COUNT IV
             UNJUST ENRICHMENT BY LANCIUM, MCNAMARA, AND CLINE

         64.     Plaintiffs incorporate the above paragraphs by reference.

         65.     Plaintiffs conferred a benefit on Defendants by providing them valuable

intellectual property about cryptocurrency mining systems and related confidential information

and materials under the boundaries of a potential collaboration between BearBox and Lancium.

         66.     Defendants accepted that cryptocurrency mining intellectual property and, indeed,

continuously asked Storms to provide more information and materials, having recognized the

benefit that Defendants received by having access to the BearBox Technology.

         67.     Defendants accepted and retained the BearBox Technology, and used it to their

own advantage, at Plaintiffs’ expense.

         68.     Defendants have been and continue to be unjustly enriched by profiting from their

wrongful conduct. In particular, Defendants have unlawfully used Plaintiffs’ property by

asserting inventorship over the BearBox Technology, and deriving an unjust benefit from




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exploiting Storms’s cryptocurrency mining inventions. It would be inequitable for Defendants to

retain these benefits under these circumstances.

         69.     Plaintiffs have incurred, and continue to incur, detriment in the form of loss of

money and property as a result of Defendants’ wrongful use of Plaintiffs’ intellectual property,

including the right to any patent based on their own intellectual property and any royalties

derived from that intellectual property. The intellectual property, including the right to any

patents based on Plaintiffs’ intellectual property and to any patent documents (including

assignment documents), U.S. and foreign, are unique and there is no adequate remedy at law.

         70.     The harm to Plaintiffs is continuous, substantial, and irreparable.


                                   COUNT V
                     TRADE SECRET MISAPPROPRIATION UNDER
                 FEDERAL DEFEND TRADE SECRETS ACT, 18 U.S.C. § 1836

         71.     Plaintiffs incorporate the above paragraphs by reference.

         72.     At all relevant times, Plaintiffs and Defendants were engaged in interstate

commerce. For example, Plaintiffs and Defendants are engaged in trade and business, developing

and testing, among other things, cryptocurrency mining systems and related methods in interstate

commerce throughout the United States.

         73.     In the course of the interactions between Austin Storms and Defendants,

Defendants obtained confidential information about the BearBox Technology relating to

cryptocurrency mining systems and related methods from Plaintiff. The confidential information

included detailed technical information about the BearBox Technology. Such information

constitutes trade secrets of substantial economic value. This confidential technical information

was not known to the public or to other persons who can obtain economic value from its




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disclosure or use. This information constituted a trade secret under the Defend Trade Secrets Act,

18 U.S.C. §§ 1836.

         74.     Defendants knew the technical information they received from Austin Storms

about the BearBox Technology was confidential, as Storms specifically informed Defendant

McNamara that the information given to him was to be held in confidence, for internal use only,

and was not to be used for any other purpose beyond those necessary to carry out an evaluation

in advance of a potential business relationship. Plaintiffs took reasonable steps to preserve

secrecy via these explicit guidelines regarding confidentiality and by limiting the number of

collaborators that Plaintiffs allowed to access this information. Plaintiffs also had systems in

place to maintain confidentiality with respect to third parties, by, for example, limiting access to

its offices and computers.

         75.     Defendants’ inclusion of Plaintiffs’ confidential technical information in the ’433

patent constituted a misappropriation of Plaintiffs’ trade secrets. Defendants acquired the

confidential information under circumstances giving rise to a duty to maintain the secrecy of the

trade secret or limit the use of the trade secret.

         76.     Defendants’ inclusion of Plaintiffs’ confidential technical information in the ’433

patent was an unauthorized disclosure in breach of Defendants’ agreement to maintain the

secrecy of this information or otherwise limit its use. As recently as December 4, 2019,

Defendants have wrongly sworn that Plaintiffs’ confidential technical information is their own

by declaring to the United States Patent and Trademark Office that they were the original and

joint inventors of the inventions claimed in the ’433 patent. Even ignoring that Defendants have

improperly claimed this information as their own, through their public filings Defendants have

disclosed the confidential technical information without the express or implied consent of




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Plaintiffs. The acts of taking Plaintiffs’ confidential information, claiming it as Defendants’ own,

and submitting it in public filings were improper means in breach of a confidential relationship.

Further, Defendant McNamara agreed to abide by Plaintiffs’ confidentiality terms, only to

violate these terms in secret. Defendant McNamara’s deception led to Storms continuing to

disclose confidential information to Defendants.

         77.     As a result of Defendants’ misappropriation of Plaintiffs’ trade secrets, Plaintiffs’

have suffered and will suffer damages in an amount to be proven at trial including, but not

limited to, damages for actual loss caused by the misappropriation of the trade secrets, damages

for any unjust enrichment caused by the misappropriation of the trade secrets, and/or damages

caused by the misappropriation measured by imposition of liability for a reasonable royalty for

the Defendants’ unauthorized disclosure or use of the trade secrets.

         78.     The Defendants willfully and maliciously misappropriated the Plaintiffs’ trade

secrets, and Plaintiffs are therefore entitled to an award of exemplary damages and an award of

reasonable attorney’s fees under 18 U.S.C. § 1836(b)(3)(C), (D).


                                   COUNT VI
                    TRADE SECRET MISAPPROPRIATION UNDER
                 TEXAS CIVIL PRACTICE AND REMEDIES CODE § 134A

         79.     Plaintiffs incorporate the above paragraphs by reference.

         80.     At all relevant times, Plaintiffs and Defendants were engaged in trade or

commerce within the meaning of Texas Civil Practice and Remedies c. § 134A, the Texas

Uniform Trade Secrets Act. For example, Plaintiffs and Defendants are engaged in trade and

business, developing and testing, among other things, cryptocurrency mining systems and related

methods.




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         81.     In the course of the interactions between Austin Storms and Defendants,

Defendants obtained confidential information about the BearBox Technology relating to

cryptocurrency mining systems and related methods from Plaintiff. The confidential information

included detailed technical information about the BearBox Technology. Such information

constitutes trade secrets of substantial economic value. This confidential technical information

was not known to the public or to other persons who can obtain economic value from its

disclosure or use. This information constituted a trade secret.

         82.     Defendants knew the technical information they received from Austin Storms

about the BearBox Technology was confidential, as Storms specifically informed Defendant

McNamara that the information given to him was to be held in confidence, for internal use only,

and was not to be used for any other purpose beyond those necessary to carry out an evaluation

in advance of a potential business relationship. Plaintiffs took reasonable steps to preserve

secrecy via these explicit guidelines regarding confidentiality and by limiting the number of

collaborators that Plaintiffs allowed to access this information. Plaintiffs also had systems in

place to maintain confidentiality with respect to third parties, by, for example, limiting access to

its offices and computers.

         83.     Defendants’ inclusion of Plaintiffs’ confidential technical information in the ’433

patent constituted a misappropriation of Plaintiffs’ trade secrets. Defendants acquired the

confidential information under circumstances giving rise to a duty to maintain the secrecy of the

trade secret or limit the use of the trade secret.

         84.     Defendants’ inclusion of Plaintiffs’ confidential technical information in the ’433

patent was an unauthorized disclosure in breach of Defendants’ agreement to maintain the

secrecy of this information or otherwise limit its use. As recently as December 4, 2019,




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Defendants have wrongly sworn that Plaintiffs’ confidential technical information is their own

by declaring to the United States Patent and Trademark Office that they were the original and

joint inventors of the inventions claimed in the ’433 patent. Even ignoring that Defendants have

improperly claimed this information as their own, through their public filings Defendants have

disclosed the confidential technical information without the express or implied consent of

Plaintiffs. The acts of taking Plaintiffs’ confidential information, claiming it as Defendants’ own,

and submitting it in public filings were improper means in breach of a confidential relationship.

Further, Defendant McNamara agreed to abide by Plaintiffs’ confidentiality terms, only to

violate these terms in secret. Defendant McNamara’s deception led to Storms continuing to

disclose confidential information to Defendants.

         85.     As a result of the misappropriation of Plaintiffs’ trade secrets and intended

immediate use by the Defendants, Plaintiffs’ have suffered and will suffer damages in an amount

to be proven at trial.


                               COUNT VII
         NEGLIGENT MISREPRESENTATION BY LANCIUM AND MCNAMARA

         86.     Plaintiffs incorporate the above paragraphs by reference.

         87.     In connection with the potential work involving cryptocurrency mining systems

and related methods, Storms told Defendant McNamara that the cryptocurrency mining systems

and related methods were proprietary to Plaintiffs and not to be used or shared outside of

Lancium. Defendant McNamara gave his word that he would abide by this confidentiality. On

information and belief, Defendant McNamara agreed to keep the BearBox Technology

confidential despite later recklessly incorporating the BearBox Technology into his own patent

applications and swearing, as recently as December 4, 2019, that he is an inventor of the




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BearBox Technology. Storms relied on Defendant McNamara’s assurances of confidentiality and

continued to share details about the BearBox Technology with Defendants.

          88.    If Plaintiffs had known that Defendants would secretly incorporate the BearBox

Technology into Defendants’ own patent applications to claim them as Defendants’ intellectual

property, Plaintiffs would not have continued working with and sharing intellectual property

with Defendants.

          89.    Plaintiffs suffered a pecuniary loss based on this reliance including the loss of

potential patent rights, and the costs of Plaintiffs’ know-how converted under the guise of a

potential business relationship.


                                          JURY DEMAND

          90.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs respectfully

demand a trial by jury on all issues so triable.


                                      PRAYER FOR RELIEF

          WHEREFORE, BearBox respectfully requests the following relief:

          A.     An order that the Director of the United States Patent and Trademark Office

correct the inventorship of the ’433 Patent to name Austin Storms as the sole inventor, or, in the

alternative, as a joint inventor to one or both of the individuals currently listed as inventors on

the ’433 Patent;

          B.     Alternatively, an order that Defendants sign the requisite documents to correct

inventorship of the ’433 Patent to name Austin Storms as the sole inventor, or, in the alternative,

as a joint inventor to one or both of the individuals currently listed as inventors on the ’433

Patent;




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         C.      A declaration that Austin Storms is the sole inventor, or, in the alternative, is a

joint inventor to one or both of the individuals currently listed as inventors on the ’433 Patent;

         D.      A preliminary and a permanent injunction enjoining Defendants Lancium,

McNamara, and Cline from asserting that McNamara or Cline are inventors of the ’433 Patent in

violation of the United States federal patent laws;

         E.      An order that Defendants immediately transfer to Plaintiffs all right, title, and

interest in all information, patent applications, patents, technology, products, and other materials

in the possession, custody, or control of Defendants that wrongfully constitute, contain, were

based on, and/or derived in whole or in part from the use of Plaintiffs’ intellectual property;

         F.      An order for a constructive trust over all information, patent applications, patents,

technology, products, and other materials in the possession, custody, or control of Defendants

that wrongfully constitute, contain, were based on, and/or derived in whole or in part from the

use of Plaintiffs’ intellectual property;

         G.      Financial relief including damages, consequential damages, disgorgement of

Defendants’ ill-gotten profits, Defendants’ unjust enrichment, restitution, reasonable royalty

damages, lost profits damages, reliance damages, and/or all other appropriate financial relief, all

in an amount to be determined at trial, with interest;

         H.      An award of the amount by which Defendants have been unjustly enriched by

their actions set forth in this Complaint and their purported ownership of patents covering

Plaintiffs’ intellectual property;

         I.      An award of exemplary, enhanced, and/or punitive damages as permitted by law,

including under 18 U.S.C. § 1836(b)(3)(C) and Texas Business and Commerce Code § 17E;




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         J.      A finding that this is an exceptional case warranting imposition of attorney fees

against Defendants and an award to Plaintiffs of its reasonable costs and attorney fees incurred in

bringing this action pursuant to 35 U.S.C. § 285;

         K.      An award of reasonable attorney’s fees under 18 U.S.C. § 1836(b)(3)(D); and

         L.      An award of such further relief at law or in equity, such as preliminary and/or

permanent injunctive relief, as the Court deems just and proper.


                                                        ASHBY & GEDDES

                                                        /s/ Andrew C. Mayo
                                                        _____________________________
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 Dated: April 14, 2021




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